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 9                                UNITED STATES DISTRICT COURT
10                              SOUTHERN DISTRICT OF CALIFORNIA
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     ROBERT LEONARD WOOD,                         )    Civil Nos.       05-CV-2206–L
12                                                )    Criminal Nos.    02-CR-0625-L
                          Petitioner,             )
13                                                )
     v.                                           )    ORDER DENYING CERTIFICATE
14                                                )    OF APPEALABILITY
     UNITED STATES OF AMERICA,                    )
15                                                )
                          Respondent.             )
16                                                )
                                                  )
17
            On August 27, 2007, Petitioner filed a request for a certificate of appealability pursuant to
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     28 U.S.C. § 2253. The final order challenged by Petitioner is in a proceeding under 28 U.S.C.
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     § 2255.
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            A certificate of appealability is authorized “if the applicant has made a substantial
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     showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). To meet this standard,
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     Petitioner must show that “jurists of reason could disagree with the district court’s resolution of
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     his constitutional claims or that jurists could conclude the issues presented are adequate to
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     deserve encouragement to proceed further.” Miller-El v. Cockrell, 537 U.S. 322, 327 (2003);
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     accord Banks v. Dretke, __ U.S. __, 124 S.Ct. 1256, 1280 (2004). Petitioner does not have to
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     show “‘that he should prevail on the merits. He has already failed in that endeavor.’” Lambright
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     v. Stewart, 220 F.3d 1022, 1025 (9th Cir. 2000) (internal quotation omitted).
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 1          After reviewing the matter, the Court finds that probable cause does not exist for the
 2   appeal. The Court also notes that on July 29, 2003, Petitioner filed a prior Notice of Appeal.
 3   The Ninth Circuit dismissed Petitioner’s appeal upon the determination that he knowingly and
 4   voluntarily entered a plea waiver, waiving his right to appeal. Petitioner’s Writ of Habeas
 5   Corpus was dismissed by this Court for similar reasons. In conclusion, the Petitioner has not
 6   made a substantial showing of the denial of a constitutional right.
 7          Accordingly, IT IS HEREBY ORDERED Petitioner’s request for a certificate of
 8   appealability is DENIED.
 9          IT IS SO ORDERED.
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11   DATED: January 14, 2008
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                                                      M. James Lorenz
13                                                    United States District Court Judge
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